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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

JENNIFER BARTIE o/b/o HER
DECEASED SON JAVON                                    CASE NO: 1:21-cv-4074
KENNERSON

        Plaintiff,

VERSUS                                                JURY TRIAL DEMANDED

LASALLE CORRECTIONS, L.L.C,
LOUISIANA DEPARTMENT OF PUBLIC
SAFETY      AND     CORRECTIONS,
SECRETARY JAMES M. LEBLANC,
CATAHOULA          CORRECTIONAL
CENTER, SHERIFF TONEY EDWARDS,
SHERMAN FORD, JEREMY WILEY,
BEN ADAMS, RANDY STOCKMAN,
BLAKE     LEBLANC,   PAT   BOOK,
WARDEN SHERMAN FORD, WARDEN
JEREMY WILEY, ASST. WARDEN ERIC
STOTT, CLARA HODAS, LILLIE
BROWN, ASHLI OLIVEAUX, SELENA
HOLMES, JOHN DOE #1, JOHN DOE #2,
JOHN DOE #3, JOHN DOE #4, JOHN
DOE #5, JOHN DOE #6, JOHN DOE #7,
JOHN DOE #8, JOHN DOE #9, JOHN
DOE #10, ABC INSURANCE COMPANY,
XYZ INSURANCE COMPANY, RST
INSURANCE COMPANY.

       Defendants
******************************************************************************

                                         COMPLAINT

       NOW INTO COURT, through undersigned counsel, come the Plaintiff, Jennifer Bartie on

behalf of her decease son Javon Kennerson, (hereinafter “Plaintiffs”) who is domiciled and resides

in Rapides Parish, respectfully represent the following:

PARTIES

                                                 1.

       Jennifer Bartie is the mother of Javon Kennerson and is a person of full age of majority.
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      Made Defendants herein are the following:

   a) CATAHOULA CORRECTIONAL CENTER (“C.C.C.”), a private prison facility in
      Harrisonburg, Catahoula Parish, owned and operated by private company LASALLE
      CORRECTIONS through contracts with the LOUISIANA DEPARTMENT OF
      CORRECTIONS. This private prison is obliged to ensure the medical and mental health of
      inmates in the custody of the Louisiana Department of Corrections that are housed there.

   b) Defendant James M. LeBlanc is the Secretary of Louisiana’s Department of Public Safety
      and Corrections (“DOC”). In his capacity as Secretary, he is responsible for the functioning
      and control of all programs within the Department. He formulates rules and regulations and
      determines policy regarding management, personnel, and total operations. He leads and
      supports central office and field unit staffs, which are charged with carrying out the work
      of the agency. By law, he is responsible for protecting the constitutional rights of all
      persons held in the DOC’s custody. At all relevant times, LeBlanc was acting under color
      of law and as the agent and official representative of DOC. He can be served at 504
      Mayflower Street, Baton Rouge, LA 70802.

   c) LOUISIANA DEPARTMENT OF PUBLIC SAFETY AND CORRECTIONS (“DOC”),
      a governmental entity and department of the State of Louisiana, who was at all relevant
      times was responsible for health, safety, and well-being of Javon Kennerson, an inmate
      committed to DOC’s custody. The DOC is the recipient of federal funds. The DOC can be
      served at 504 Mayflower Street, Baton Rouge, LA 70802.

   d) LASALLE CORRECTIONS, LLC is a Louisiana Corporation that has its principal place
      of business in Ruston, Louisiana. LASALLE CORRECTIONS maintains an office in
      Ruston, Louisiana and operates nine (9) correctional facilities in Louisiana, as well as
      others in Texas, New Mexico, and Georgia. LASALLE CORRECTIONS’ registered agent
      in Louisiana is William K. McConnell at 192 Bastille Lane, Suite 200, Ruston, LA 71270.

   e) ABC Insurance Company is an insurance company authorized to do, and doing business in
      the State of Louisiana providing general liability coverage for Catahoula Correctional
      Center and/or Lasalle Corrections, LLC.

   f) XYZ Insurance Company is an insurance company authorized to do, and doing business in
      the State of Louisiana providing general liability coverage for Louisiana Department of
      Corrections.

   g) SHERIFF TONEY EDWARDS was at all times relevant to this complaint the Sheriff of
      Catahoula Parish, a person of full age of majority domiciled in Catahoula Parish. Through
      contractual relationships with Defendants DOC and Lasalle Corrections, Sheriff Edwards
      had responsibility in overseeing and ensuring the health of inmates at C.C.C. He is suedin
      his official capacity;

   h) RST Insurance Company is an insurance company authorized to do, and doing business in
      the State of Louisiana providing general liability coverage for Catahoula Parish Sheriff and
      his employees.


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   i) SHERMAN FORD, was at all times relevant to this complaint the Warden of C.C.C., a
      person of full age of majority and a resident of Louisiana. He is being sued in his individual
      and official capacities;

   j) JEREMY WILEY, was at all times relevant to this complaint the also a Warden of C.C.C.,
      and is, upon information and belief, a person of full age and of majority, domiciled in
      Louisiana. He is sued in his official and individual capacities;

   k) ERIC STOTT, was at all times relevant to this complaint the Assistant Warden of C.C.C.,
      a person of full age of majority and a resident of Louisiana. He is being sued in his
      individual and official capacities;

   l) BEN ADAMS, was at all times relevant to this complaint the Chief Operation Officer at
      C.C.C., and is, upon information and belief, a person of full age and of majority, domiciled
      in Louisiana. He is sued in his official and individual capacities;

   m) RANDY STOCKMAN, was at all times relevant to this complaint the Captain of Patrol at
      C.C.C., and is, upon information and belief, a person of full age and of majority, domiciled
      in Louisiana. He is sued in his official and individual capacities;

   n) PAT BOOK, was at all times relevant to this complaint the Chief Warden of C.C.C. for
      Lasalle Corrections, and is upon information and belief, a person of full age and majority,
      domiciled in Louisiana. He is sued in his individual and official capacities.

   o) BLAKE LEBLANC, was at all relevant times to this complaint worked for the D.O.C. in
      charge of overseeing mental health issues with inmates throughout the DOC system. He is
      upon information and belief, a person of full age and majority, domiciled in Louisiana. He
      is sued in his individual and official capacities.

   p) ASHLI OLIVEAUX was at all relevant times employed at DOC Headquarters to make
      assess the proper placement of inmates in DOC Custody based on their health and mental
      health needs to ensure their safety. She is upon information and belief, a person of full age
      and majority, domiciled in Louisiana. She is sued in his individual and official capacities.

   q) SELENA HOLMES was at all relevant times to this complaint worked for the D.O.C. in
      charge of overseeing mental health issues with inmates throughout the DOC system. She
      is upon information and belief, a person of full age and majority, domiciled in Louisiana.
      She is sued in his individual and official capacities.

   r) CLARA HODAS, was at all relevant times a mental health administrator at DOC who was
      in touch with or had knowledge of C.C.C.’s warnings of Mr. Patterson’s deteriorating
      physical and mental health. She is upon information and belief, a person of full age and
      majority, domiciled in Louisiana. She is sued in his individual and official capacities.

   s) LILLIE BROWN, was at all relevant times a mental health supervisor at DOC who was in
      touch with or had knowledge of C.C.C.’s warnings of Mr. Patterson’s deteriorating
      physical and mental health. She is upon information and belief, a person of full age and
      majority, domiciled in Louisiana. She is sued in his individual and official capacities.

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    t) JOHN DOES #1-5, were, at all times relevant to this complaint, employees at C.C.C. or
       Lasalle Corrections assigned to the tier housing Mr. Kennerson, and are, upon information
       and belief, persons of full ageand of majority, domiciled in Louisiana. They are sued in
       their individual capacity;

    u) JOHN DOE #6-10, were at all times relevant to this complaint responsible for medical and
       mental health care provider employed to provide medical and mental health treatment and
       care to C.C.C. inmates, including Mr. Kennerson during his incarceration and prior to his
       death;

    v) At all times relevant to this complaint, all defendants acted in concert and conspiracy and
       were jointly and severally responsible for the harms caused to plaintiff.

    w) At all times to this Complaint, all defendants acted under the color of state law.

    x) THIS PETITION PUTS ON NOTICE ANY EXCESS POLICY COVERING, THE
       CATAHOULA PARISH’S SHERIFF’S OFFICE, SHERIFF EDWARDS, ANY
       EMPLOYEE OF THE CATAHOULA CATAHOULA CORRECTIONAL CENTER,
       THE LOUISIANA DEPARTMENT OF CORRECTIONS AND ALL ITS EMPLOYEES,
       AND LASALLE CORRECTIONS AND ALL OF ITS EMPLOYEES AND ANY
       POTENTIAL UNION POLICY COVERING THE INDIVIDUAL SHERIFF DUPUTIES
       NAMED INDIVIDUALLY IN THIS SUIT.

                                 JURISDICTION AND VENUE

                                                   2.

       The United States District Court has jurisdiction over the subject matter of this complaint

under 42 U.S.C. 1983 and 28 U.S.C. 1331, 1343(a)(3), and 1367(a).

                                                   3.

       The Western District of Louisiana is the appropriate venue to bring this complaint, because

the facts that give rise to Plaintiffs’ claims all took place within the Western District of Louisiana.

                                   FACTUAL ALLEGATIONS

                                                   4.

      In 2013, Mr. Kennerson was convicted of an offense for which he was sentenced to the

custody of the DOC for twenty (20) years. Mr. Kennerson was remanded to DOC custody in or

around 2013.


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                                                   5.

        From the time Mr. Kennerson was remanded to DOC custody in 2013 through his death on

December 12, 2020, he remained in DOC custody. During this entire period, DOC was fully

responsible to ensure Mr. Kennerson’s health and provide proper health care, as well as prevent self-

harm.

                                                   6.

        Defendant James Leblanc is the DOC’s Secretary, thus making him responsible for the

functioning and control of all programs within the Department. He formulates rules and regulations

and determines policy regarding management, personnel, and total operations. He leads and supports

central office and field unit staffs, which are charged with carrying out the work of the agency. By

law, he is responsible for protecting the constitutional rights of all persons held in the DOC’s custody.

At all relevant times, LeBlanc was acting under color of law

                                                   7.

        Prior to Mr. Patterson’s incarceration, he suffered none of the psychotic or mental illness

symptoms that he manifested in his last weeks of life while in D.O.C. Custody, including at C.C.C.

Nor did he suffer any of the physical maladies that killed him on December 12, 2020 while in DOC

custody.

                                                   8.

        C.C.C. is a private prison run by the company Lasalle Corrections via contract with D.O.C.

While Lasalle operates this facility, both it and D.O.C. are fully and individually responsible for the

health, including mental health of the inmates in custody at C.C.C. As shown below, when Lasalle

has issues with their inmates they regularly consult with D.O.C. for direction and instruction. C.C.C.

is overseen by Defendant Sheriff Toney Edwards, Warden Sherman Ford, Warden Jeremy Wiley.

Assistant Warden Eric Stott, Chief Operation Office Ben Adams, Captain of Patrol Randy Stockman,


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and Chief Warden employed by Lasalle Pat Book. Upon information and belief, a number of the

individuals above including Sheriff Edwards and other defendants listed but yet to be identified by

Plaintiffs were employed by the Catahoula Parish Sheriff’s Office and worked at C.C.C.

                                                  9.

       Prior to Mr. Patterson’s death, D.O.C. was aware of the issues at Lasalle facilities involving

inmates’ health and Lasalle failing to provide adequate care. For example, Lasalle settled for

$405,000 with a former prison at Jackson Parish Correctional Center due to a fall that left him

severely injured, and Lasalle afterwards denied that inmate physical therapy. The plaintiff there

frequently had to drag himself across jail floors because Lasalle employees refused to give him a

wheelchair. Another inmate’s family sued for wrongful death for an inmate who suffered an asthma

attack at the Lasalle-run Madison Parish Correctional Center. This inmate was denied treatment or

resuscitation attempts for over an hour causing this inmate to needlessly perish. Indeed, in one of its

private facilities in Texarkana, an employee pled guilty to manslaughter after actively choosing to

refuse a prisoner medical care.

                                                 10.

       Upon information and belief, DOC and Defendant James LeBlanc were aware of these

lawsuits but took no actions to terminate its contract with Lasalle, provide more intensive oversight

over Lasalle’s privately run prisons, nor make any extra accommodations for those sick or mentally

ill inmates house at Lasalle facilities in violation of constitutional law, the Americans with

Disabilities Act (“ADA”), or state law.

                                                 11.

       On November 17, 2020, Mr. Javon Kennerson was transferred from C. Paul Phelps

Correctional Center (“P.P.C.C.”) run by the Louisiana Department of Corrections (“DOC”) to the

Catahoula Parish Prison (“C.P.P.”).


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                                                 12.

       Prior to becoming sick, Mr. Knnerson was routinely in touch with family. Their discussions

 included his medical well-being. He never once experienced any of the symptoms he began

 displaying at C.C.C. that ultimately caused his death.

                                                13.

       Upon arrival at C.C.C., notes from C.C.C. on November 18, 2020 reflect Mr. Paatterson,

shaking bars and ignoring verbal orders, which resulted in John Doe #1 spraying Mr. Kennerson in

face with a chemical. Mr. Patterson was later sprayed again with chemicals by either John Doe #1

or John Doe #2. Mr. Patterson was placed in a restraining chair and forced to shower.

                                                14.

       On November 20, 2020, C.C.C. contacted Defendant D.O.C. employees (listed below) about

Mr. Patterson’s condition, indicating he had a mental health issue. Mr. Patterson kept ripping off

his clothes and running around, painted his cell with water, and defecated in his food tray. D.O.C.

took no action despite this plainly bizarre behavior. C.C.C. and its employees too no sufficient

action despite this behavior to ensure Mr. Paatteron’s safety. The persons contacted at D.O.C. about

Mr. Patterson’s health were Ashli Oliveaux, head of placement of inmates, Selena Holmes, charged

with overseeing mental health issues with inmates, Clara Hodas, Mental health supervisor, Lillie

Broan, mental health supervisor, and Blake Leblamc, in charge of overseeing mental health issues

with inmates.

                                                15.

       On November 23, 2020, C.C.C. again contact D.O.C., this time speaking with Defendant

Clara Hodas a Mental Health Administrator. C.C.C. stated it was worried that Mr. Paatterson would

hurt himself or others. Ms. Hodas said she would talk to Defendant Blake Leblanc about potentially

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transferring Mr. Patterson. D.O.C. took no adequate action despite this plainly bizarre behavior.

C.C.C. and its employees too no sufficient action despite this behavior to ensure Mr. Patteron’s

safety.

                                                16.

          Despite all the symptoms he was displaying, upon information and belief, until November

25, 2020, Mr. Kennerson was not placed on suicide watch or any other similar isolation cell.

                                                16.

          Despite Mr. Patterson’s plainly psychotic and dangerous behavior, neither D.O.C. nor

C.C.C. even had him meet with a psychiatrist until November 25, 2020. At that time, Mr. Patterson

was placed on suicide risk. He was noted to be throwing feces and largely unable to complete a

physical exam. Upon information and belief, up to this point, Mr. Kennerson had received no other

medical care and no medications.

                                                17.

          With this lack of adequate medical care from D.O.C. the date of his booking into C.C.C.—

as well as C.C.C.’s inadequate medical care itself, it appears Mr. Patteron’s health took a nosedive.

There are no notes from C.C.C. from November 25, 2020 until December 2, 2020. At this point,

Mr. Kennerson is in a wheelchair, lethargic, with a low temperature and blood pressure. At this time

Mr. Patterson was taken to Riverland Medical ER. He was supposed to see a neurologist within 24

hours, as well have a WBC and BMP repeated in that same time.

                                                18.

          Communication with D.O.C. attempted to resume on December 2. There are notes of

Defendants Hodas and Oliveaux not answer their phone.

                                                 19.

           On approximately December 2, CPP notified Mr. Patterson’s mother of psychotic
                                                  8
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symptoms Mr. Kennerson was experiencing including eating his feces, acute. Mr. Kennerson had

no history of mental health issues, nor manifested any sort of similar behaviors during any period

of incarceration.

                                             20.

       On December 2, 2020 Mr. Kennerson was finally taken to the Riverland Medical Center.

He was found to have altered mental status, hypernatremia, abnormal metabolic blood panel levels,

scalp laceration, infected wounds and rhadomyolysis. The lacerations to his head were noted by

guards to be caused when Mr. Patterson ran into his cell door. These lacerations were draining

puss and had a foul odor.

                                             21.

       C.C.C. returned Mr. Patterson to the prison and sought no other emergent medical care on

December 2, 2020. Upon information and belief, no member of D.O.C. responded to C.C.C. about

Mr. Patterson’s condition.

                                             22.

       C.C.C. took Mr. Patterson back to Riverland Medical Center on December 3 where he

remained until December 4. Mr. Patterson was intubated and noted to again to have an altered

mental status.

                                             23.

       Finally on December 3, Defendant Oliveaux and Defendant Blaake Leblanc returned

C.C.C.’s calls regarding Mr. Patterson.

                                             24.

       On December 4, 2020, Mr. Patterson was transferred to Lakeview Regional Medical

Center. There it is again noted in his history he acted increasingly psychotic, including eating his

own feces and drinking his own urine.

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                                             25.

        A mere five days before being admitted at Lakeview—which would be November 30,

 2020, many days after his transfer to C.C.C.—medical records on December 4 say that Mr.

 Patterson was given access to roach killer which he smoked. In other words, after being transferred

 on November 18, 2020 and engaging in self-harm, ramming his head in his wall, acting psychotic,

 eating feces and drinking urine, Mr. Patterson in his altered mind state was still under such poor

 care and supervision that he was permitted to smoke insecticide.

                                             26.

        Eight (8) days later, on December 12, 2020, Mr. Patterson died. The coroner believed his

 death was attributable to the insecticide he was able to smoke on November 30, 2020.

                                             27.

        Defendants John Does #1-#10, Ben Adams, Randy Stockman as the result of de facto

 policies and practices permitted by defendants C.C.C., D.O.C. James LeBlanc, Lasalle

 Corrections, Sheriff Edwards, Warden Ford, Warden Wiley, Assistant Warden Stott, Pat Book,

 Ashli Oliveaux, Selena Holmes, Clara Hodas, and Lillie Brown failed to monitor prisoner living

 areas including where Mr. Patterson was housed despite his overt manifestations of psychosis and

 mental illness.

                                             28.

        Defendants John Does #1-#10, Ben Adams, Randy Stockman, as the result of de facto

 policies and practices permitted by Defendants C.C.C., D.O.C. James LeBlanc, Lasalle

 Corrections, Sheriff Edwards, Warden Ford, Warden Wiley, Assistant Warden Stott, Pat Book,

 Ashli Oliveaux, Selena Holmes, Clara Hodas, and Lillie Brown failed to provide Mr. Patterson

 sufficient access to qualified medical and mental health care.

                                                   29.

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        Defendants John Does #1-#10, Ben Adams, Randy Stockman, as the result of de facto

 policies and practices permitted by defendants C.C.C., D.O.C. James LeBlanc, Lasalle

 Corrections, Sheriff Edwards, Warden Ford, Warden Wiley, Assistant Warden Stott, Pat Book,

 Ashli Oliveaux, Selena Holmes, Clara Hodas, and Lillie Brown failed to provide Mr. Patterson

 sufficient medical and mental health care prior to, and resulting in, his death.

                                                  30.

        C.C.C., D.O.C. James LeBlanc, Lasalle Corrections, Sheriff Edwards, Warden Ford,

 Warden Wiley, Assistant Warden Stott, Pat Book, Ashli Oliveaux, Selena Holmes, Clara Hodas,

 and Lillie Brown failed to adequately staff and train employees responsible for providing

 constitutionally adequate medical and mental health care at C.C.C. As a result of de facto policies

 and practices permitted by Defendants C.C.C., D.O.C. James LeBlanc, Lasalle Corrections,

 Sheriff Edwards, Warden Ford, Warden Wiley, Assistant Warden Stott, Pat Book, Ashli Oliveaux,

 Selena Holmes, Clara Hodas, and Lillie Brown, C.C.C. employees are not trained and/or

 supervised to address and refer prisoners’ serious mental health care needs to Lasalle Corrections

 and D.O.C., including those exhibited by Mr. Patterson, resulting in deliberate indifference to

 prisoners’ serious mental healthcare needs.

                                                  31.

        Defendants John Does #1-#10, Ben Adams, Randy Stockman, as the result of de facto

 policies and practices permitted by defendants Defendants C.C.C., D.O.C. James LeBlanc, Lasalle

 Corrections, Sheriff Edwards, Warden Ford, Warden Wiley, Assistant Warden Stott, Pat Book,

 Ashli Oliveaux, Selena Holmes, Clara Hodas, and Lillie Brown failed to provide appropriate care

 when he/she did not place Mr. Patterson in safe housing away from any poisonous agents, as

 several staff members had knowledge of his dangerous and fragile mental state and/or had

 witnessed bizarre and alarming behavior by Mr. Patterson.


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                                                 32.

        . Defendants John Does #1-#10, Ben Adams, Randy Stockman, as the result of de facto

 policies and practices permitted by defendants Defendants C.C.C., D.O.C. James LeBlanc, Lasalle

 Corrections, Sheriff Edwards, Warden Ford, Warden Wiley, Assistant Warden Stott, Pat Book,

 Ashli Oliveaux, Selena Holmes, Clara Hodas, and Lillie Brown violated Mr. Patterson’s rights as

 a mentally ill individual under the A.D.A., as D.O.C. received federal funds.


                                                 33.

        At all times relevant to this complaint, defendants acted under color of state law.

                                                 34.

        At all times mentioned herein, all the defendants named in their individual capacities were

 employed by the defendants, D.O.C., Lasalle Corrections, or Catahoula Parish Sheriff’s Office and

 were acting in the course and scope of their employment with defendants D.O.C., Lasalle

 Corrections, or the Catahoula Parish Sheriff’s Office.

                                                 35.

        The defendants’ actions were reckless, willful, wanton, and malicious, and constituted

 deliberate indifference to the rights of the plaintiffs. The defendants’ actions were the proximate

 cause of the injuries and death of Mr. Patterson’s and the damages of the plaintiffs.


                                      CAUSES OF ACTION

  COUNT 1 – § 1983 Violation Based on Establishment of a System in which Prisoners with
      Serious Mental Health Issues are Denied Access to Appropriate Medical Care —
  Defendants C.C.C., D.O.C. James LeBlanc, Lasalle Corrections, Sheriff Edwards, Warden Ford,
   Warden Wiley, Assistant Warden Stott, Pat Book, Ashli Oliveaux, Selena Holmes, Clara Hodas,
                            and Lillie Brown (Official Capacities)

                                                 36.

        The defendants named in this Count, acting individually and together, under color of law,

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 violated Mr. Patterson’s right to be free from cruel and unusual punishment and the right to due

 process and equal protection of the laws as protected by the Fourteenth Amendments of the United

 States Constitution and 42 USC § 1983. They did so by providing inadequate and insufficient

 services for medical and mental health care that they knew would result in the deprivation of

 adequate medical and mental health care for prisoners with serious medical conditions, namely,

 serious mental health conditions. Plaintiffs were individually harmed by the insufficiency of the

 contract and the failure to make other accommodations to provide mental health services because

 they resulted in the death of Mr. Patterson, who was deprived ofappropriate mental health and

 medical treatment after he was booked into C.C.C., which deprivation resulted in his death, as

 described above.

                                               37.

        At all pertinent times, the defendants named in this Count, individually and collectively,

 acted unreasonably, recklessly, and with deliberate indifference and disregard for the safety,

 constitutional, and civil rights of Mr. Patterson by failing to provide appropriate medical and

 mental health services.

  COUNT 2 – § 1983 Violation Based on Failure to Supervise Other Defendants to Ensure
   Inmates Received Appropriate Care for Serious Medical Needs— Defendants C.C.C.,
   D.O.C. James LeBlanc, Lasalle Corrections, Sheriff Edwards, Warden Ford, Warden
  Wiley, Assistant Warden Stott, Pat Book, Ashli Oliveaux, Selena Holmes, Clara Hodas,
                   and Lillie Brown (Individual and Official Capacities)


                                               38.

        Defendants C.C.C., D.O.C. James LeBlanc, Lasalle Corrections, Sheriff Edwards, Warden

 Ford, Warden Wiley, Assistant Warden Stott, Pat Book, Ashli Oliveaux, Selena Holmes, Clara

 Hodas, and Lillie Brown in their individual and official capacities, failed to supervise their

 subordinates, namely, Defendants John Does #1-#10, Ben Adams, Randy Stockman, Warden Ford,

 Warden Wiley, Assistant Warden Stott, Pat Book, Ashli Oliveaux, Selena Holmes, Clara Hodas,
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 and Lillie Brown to ensure that these subordinates did not ignore prisoners’ obvious signs of

 medical and/or mental health distress, and/or fail to properly monitor prisoners showing signs of

 mental health crisis.

                                                 39.

        The plaintiffs were directly harmed by this failure to supervise because it caused the death

 of Mr. Patterson, who received patently insufficient treatment for his serious mental health needs

 from the specified defendants. At all pertinent times herein, Defendants C.C.C., D.O.C. James

 LeBlanc, Lasalle Corrections, Sheriff Edwards, Warden Ford, Warden Wiley, Assistant Warden

 Stott, Pat Book, Ashli Oliveaux, Selena Holmes, Clara Hodas, and Lillie Brown were aware of the

 need to supervise their subordinates in order to ensure that they did notviolate prisoners’ rights.

 These defendants ignored that need and acted unreasonably and with deliberate indifference and

 disregard for the safety of Mr. Patterson, as described above.

                                                 40.

        Defendants C.C.C., D.O.C. James LeBlanc, Lasalle Corrections, Sheriff Edwards, Warden

 Ford, Warden Wiley, Assistant Warden Stott, Pat Book, Ashli Oliveaux, Selena Holmes, Clara

 Hodas, and Lillie Brown, in their individual and official capacities, failed to supervise their

 subordinates, namely Defendants John Does #1-#10, Ben Adams, Randy Stockman, Warden Ford,

 Warden Wiley, Assistant Warden Stott, Pat Book, Ashli Oliveaux, Selena Holmes, Clara Hodas,

 and Lillie Brown, to ensure that these subordinates did not ignore prisoners’ obvious signs of

 medical and/ormental health distress, and/or fail to properly monitor prisoners show signs of mental

 health crisis.They also failed to ensure that their subordinates provided reasonable and sufficient

 treatment forprisoners’ mental health conditions and properly monitored prisoners who were being

 treated. Theplaintiffs were directly harmed by this failure to supervise because it caused the death

 of Mr. Paatterson, who received patently insufficient treatment for his serious mental health needs


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 from the specified defendants.

                                                   41.

        At all pertinent times herein, Defendants C.C.C., D.O.C. James LeBlanc, Lasalle

 Corrections, Sheriff Edwards, Warden Ford, Warden Wiley, Assistant Warden Stott, Pat Book,

 Ashli Oliveaux, Selena Holmes, Clara Hodas, and Lillie Brown were aware ofthe need to supervise

 their subordinates in order to ensure that they did not violate prisoners’ rights.They ignored that need

 and acted unreasonably and with deliberate indifference and disregard for the safety of Mr.

 Patterson, as described above.

        COUNT 3 – § 1983 Violation Based on Deliberate Indifference to Mr. Patterson’s
   Constitutional Right to Appropriate Medical and Mental Health Care
                Defendants C.C.C., D.O.C. James LeBlanc, Lasalle Corrections, Sheriff
                Edwards, Warden Ford, Warden Wiley, Assistant Warden Stott, Pat Book,
                Ashli Oliveaux, Selena Holmes, Clara Hodas, Lillie Brown, John Does #1-#10,
                Ben Adams, Randy Stockman
                                      (Individual Capacities)

                                                   42.

        The above-named defendants, acting individually and together, and under color of law,

 engaged in a course of conduct and conspired to engage in a course of conduct that acted to deprive

 Mr. Patterson of his constitutional rights and did deprive him of said rights, specifically, the right

 to reasonable and adequate medical and mental health care.

                                                   43.

        At all times pertinent herein, these defendants, acting individually and collectively, acted

 unreasonably, recklessly, maliciously, and/or with deliberate indifference and disregard for the

 constitutional and civil rights and life and serious mental health needs of the deceased, Mr.

 Patterson.

                                                   44.

        Furthermore, these defendants, individually and collectively, had the duty and ability to

                                                   15
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 intervene to prevent the violations of the rights of Mr. Patterson, as described herein, but failed to

 do so.

                                                  45.

          Finally, these Defendants acted as a final policy maker when they placed a psychotic Mr.

 Patterson in a cell with access to fatal insecticide to ingest, and deprived Mr. Paatterson of

 reasonable and adequate mental health care, having been delegated the authority to do so by

 Defendants D.O.C, James LeBlanc, C.C.C. and Lasalle Correction .

   COUNT 4 – Monell Violation of § 1983 Based on Establishment of Policies, Patterns or
  Practices pursuant to which Prisoners with Serious Mental Health Conditions are Denied
     Access to Appropriate Medical Care— Defendants D.O.C., James LeBlanc, Sheriff
               Edwards, C.C.C., and Lasalle Corrections (Official Capacities)


                                                  46.

          The defendants named in this Count, D.O.C., James LeBlanc, Sheriff Edwards, C.C.C.,

 and Lasalle Corrections acting individually and together, under color of law, acted to violate Mr.

 Claiborne’s right to be free fromcruel and unusual punishment and the right to due process and

 equal protection of the laws as protected by the Fourteenth Amendments of the United States

 Constitution and 42 USC § 1983. They did so by establishing and maintaining policies, patterns

 or practices that they knew would deprive prisoners with serious medical conditions, namely,

 serious mental health disorders, of treatment for those disorders.

                                                  47.

          Mr. Patterson and the plaintiffs were individually harmed by these policies, patterns, or

 practices because they resulted in the death of Mr. Patterson, who was deprived of appropriate

 medical and mental health treatment after he was booked into the C.C.C. despite the obvious, acute,

 and severe emotional and mental distress he was suffering.These deprivations resulted in his death,

 as described above.

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                                                   48.

           At all pertinent times, the defendants named in this Count, individually and collectively,

 acted unreasonably, recklessly, and with deliberate indifference and disregard for the safety,

 constitutional, and civil rights of the plaintiffs by establishing the above-described policies,

 patterns, or practices. The defendants named in thiscount further failed to take reasonable steps to

 prevent the deaths of inmates in their care, includingMr. Patterson.

                                                   49.

           The above-named defendants are therefore liable to the plaintiffs for the violation of

 constitutional rights described above pursuant to Monell v. Dept. of Soc. Servs., 436 U.S. 658

 (1978).

  COUNT 5– State Claim of Negligent and/or Intentional Conduct Resulting in Injury and
 Death— Defendants Defendants John Does #1-#10, Ben Adams, Randy Stockman, Warden
  Ford, Warden Wiley, Assistant Warden Stott, Pat Book, Ashli Oliveaux, Selena Holmes,
                Clara Hodas, and Lillie Brown (Individual Capacities)

                                                   50.

       The above-named defendants, acting individually and together, and under color of law,

engaged in a course of conduct that deprived Mr. Patterson of appropriate mental health treatment,

causing harm to Mr. Patterson and ultimately led to his death. At all times pertinent herein, these

defendants, individually and collectively, acted intentionally, maliciously, recklessly, and/or

negligently towards the deceased, Mr. Patterson. Furthermore, these defendants, individually and

collectively, had the duty and ability to intervene upon observing and/or being made aware of Mr.

Patterson peculiar behavior but failed to do so.

                  COUNT 6 – State Claim of Respondeat Superior Liability of
               Defendants D.O.C., C.C.C., Sheriff Toney Edwards, Lasalle
               Corrections Under La. C. C. art. 2320

                                                   51.

           At all relevant times, the individually named defendants were acting in the course and scope

                                                    17
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 of their employment with Defendants D.O.C., C.C.C., Sheriff Toney Edwards and Lasalle

 Corrections are therefore liable under the doctrine of respondeat superior, La. C. C. 2320, for all

 state law causes of action and liability arising due to the actions and inactions of the individual

 defendants, as described herein.


                     COUNT 7 – Loss of Consortium ALL DEFENDANTS

                                                  52.

        Defendants are liable to Jennifer Bartie, pursuant to La. C.C. art. 2315(B) and 42 U.S.C. §

 1983 for loss of service, society, support, love and affection arising out of the injuries occasioned

 by the acts and/or omissions of the Defendants herein.


                     COUNT 8 – Wrongful Death Claim of Jennifer Bartie
                                          53.

        Jennifer Bartie is the the surviving mother of Mr. Patterson, who seeks to recover for the

 damages she sustained as a result of the death of her son due to the fault of Defendants.

                                                  54.

        The deceased left no surviving wife or children.

                       COUNT 9 – Survival Action Claim of Jennifer Bartie

                                                  55.

        Jennifer Bartie seeks relief under La. C.C. art 2315.2, for the pain and suffering occurring

 before and during Mr. Paatterson death occasioned by the intentional and/or grossly negligent acts

 and/or omissions of the Defendants herein, and forall other relief as set forth herein.

                 COUNT 10 – State Claim of Direct Action Against an Insurer,
                              Pursuant to LA R.S. § 22:1269

                                                  56.

        At all applicable times, Defendant ABC Insurance Company, XYZ Insurance Company,

                                                  18
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 and RST Insurance Company afforded liability insurance coverage to defendants. Accordingly,

 ABC Insurance Company is liable to the plaintiffs for the intentional and/or negligent acts of the

 other defendants.

        COUNT 11 – State Claim for Breach of Duty to Provide Medical Treatment—
                                 D.O.C. and Lasalle Corrections

                                                57.

        Under Louisiana law, D.O.C. as the confining authority, has a legal duty toprovide

 appropriate medical and mental health treatment for prisoners.

                                               58.

       For the facility C.C.C., D.O.C. contracted with Lasalle Corrections to provide such medical

and mental health treatment.

                                                59.

        D.O.C. and Lasalle Corrections failed to provide medical and mental health treatment

 within C.C.C. that was adequate and reasonable as required by law.

                                                60.

        Mr. Patterson’s death was a direct result of D.O.C. and Lasalle Corrections failure to

 provide adequate and reasonable mental health care.


                       COUNT 12- Failure to Protect Under State Law—
                                      All Defendants

                                                61.

        Under La. C.C. Art. 2315, Defendants are also liable to Plaintiffs under state law. The

 defendants had a duty to protect Mr.Patterson. His mental health issues were very pronounced and

 known to all defendants. Nevertheless, they provided him with constitutionally inadequate mental

 health and medical treatment. Further, they placed him in a cell where he had access to poison he

 ingested. The D.O.C., C.C.C., Sheriff Edwards, and Lasalle Corrections are vicariously liable for
                                                19
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 the state law delicts of his servants.

                       COUNT 13 – VIOLATION OF THE ADA
 Defendants C.C.C., D.O.C. James LeBlanc, Lasalle Corrections, Sheriff Edwards, Warden
  Ford, Warden Wiley, Assistant Warden Stott, Pat Book, Ashli Oliveaux, Selena Holmes,
                             Clara Hodas, and Lillie Brown
                                          62.

       D.O.C. receives federal funding and is thus required to comply with the A.D.A. Law defines

a defines “a qualified individual with a disability” as a person who suffers froma “physical or mental

impairment that substantially limits one or more major life activities,”including but not limited to,

“caring for oneself, performing manual tasks, seeing, hearing, eating, sleeping, walking, standing,

lifting, bending, speaking, breathing, learning, reading, concentrating, thinking, communicating,

and working.” 42 U.S.C. § 12102(1)(A), (2)(A).

                                                 63.

              Under the ADA, Defendant DOC must provide prisoners with disabilities reasonable

accommodations and modifications so that they can avail themselves of and participate in all

programs and activities offered by Defendants. Here, Defendants failed to “implement reasonable

policies, including physical modifications to additional cells in accordance with the 2010

[accessibility] Standards, so as to ensurethat each inmate with a disability is housed in a cell with

the accessible elements necessary to afford the inmate access to safe, appropriate housing,” 28

C.F.R. § 35.152(b)(3). Defendants also failed or refused to provide Plaintiffs and the Disability

Subclass they represent with reasonable accommodations and other services related to their

disabilities, see generally 28 C.F.R. § 35.130(a). Finally, Defendants failed to to “ensure that

inmates or detainees with disabilities are housed in the mostintegrated setting appropriate to the

needs of the individuals,” 28 C.F.R. § 35.152(b)(2).

                                                 64.

       Here, Mr. Patterson’s mental illness constituted a “qualified individual.” However,

                                                  20
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defendants did not provide proper accommodations, medical and mental health treatment, and safe

housing despite his condition.

                                              INJURIES

                                                  74.

        As a result of the actions of the defendants as described above, damages have been incurred

 as follows: Mr. Patterson (deceased) suffered conscious and severe physical, mental, and

 emotional distress, pain and suffering prior to his death, and lost his life. Jennifer Bartie suffered

 emotional pain and suffering, past, present, and future; and have suffered the loss of love, affection,

 and companionship of her son, and has incurred funeral and burial expenses.

                                      PRAYER FOR RELIEF

                                                  75.

        WHEREFORE, plaintiffs pray that after due proceedings there be judgment rendered

 herein in plaintiffs’ favor and against all defendants individually and jointly, as follows:

        a) Compensatory and punitive damages as prayed for herein;

        b) Reasonable attorneys’ fees, as provided in 42 U.S.C. § 1988, 42 U.S.C. § 12205, and

            29 U.S.C. § 794(b) and all costs of these proceedings and legal interest;

        c) Punitive damages pursuant to 42 U.S.C. § 1983 and any other applicable statute;

        d) Relief under La. C.C. arts. 2315 and 2321 from the intentional and/or negligent acts

            and/or omissions of the Defendants herein; and

        e) All other relief as appears just and proper to this Honorable Court.


                                                         Christopher J. Murell
                                                        Christopher J. Murell (#32075)
                                                        MURELL LAW FIRM
                                                        2831 St. Claude Ave.
                                                        New Orleans, LA 70117
                                                        (504) 717-1297 (P)
                                                        chris@murell.law
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                                           AND

                                           Verity Gentry
                                           Verity Gentry (#33143)
                                           Law Office of Verity Gentry
                                           1532 Irving Place
                                           Shreveport, LA 71101
                                           (318) 701.8127
                                           verity@vgblaw.com

                                           ATTORNEYS FOR PLAINTIFFS




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